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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS


M.G., through his father and legal guardian Case No.: 1:20-cv-04699
BARTOSZ GRABOWSKI, individually and
on behalf of all others similarly situated, MDL No: 2948
Plaintiff,                                  This Document Relates to All Cases
v.                                          APPLICATION FOR APPOINTMENT AS
                                            CLASS COUNSEL
TIKTOK INC.; and BYTEDANCE, INC.,
Defendants.
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                                        INTRODUCTION

       Pursuant to Federal Rule of Civil Procedure 23(g) and Case Management Orders 1 and 2
in this action, Plaintiff M.G., a minor child, by and through his father and legal guardian Bartosz

Grabowski (collectively, “Plaintiff”), respectfully moves for an order appointing Frank S. Hedin
of Hedin Hall LLP (“Hedin Hall”) and/or Philip L. Fraietta of Bursor & Fisher, P.A. (“Bursor &
Fisher”) as lead counsel or, alternatively, as Steering Committee members on behalf of the
Classes,1 and appointing J. Dominick Larry of Nick Larry Law LLC (“Nick Larry Law”) as
Steering Committee member on behalf of the Classes (collectively, “Proposed Class Counsel”).2
       Proposed Class Counsel have significant nationwide consumer class action experience,
knowledge of the applicable law and substantial resources that can be used to litigate this action.
They also have a proven track record of success in similar privacy cases, including seminal cases
involving Illinois’ Biometric Information Privacy Act (“BIPA”).
                                         BACKGROUND
       In M.G. v. TikTok Inc. et al., Case No. 1:20-cv-5305, minor Illinois resident M.G., by and
through his father, alleges that Defendants have used the “TikTok” mobile application (the
“TikTok App”) to surreptitiously capture, collect, store, and use the “biometric identifiers” and
“biometric information” of everyone whose face or voice has appeared on the TikTok App,
including Plaintiff and millions of other young children, in direct violation of BIPA. (See generally
M.G., ECF No. 1 (“Compl.”).) Following several reports and articles in the news media concerning
Defendants’ data-collection practices, at least sixteen other class actions have been filed against
the companies by various law firms. See ECF No. 2 at 3; id., ECF No. 26 at 2.
       Of these firms, Bursor & Fisher, Hedin Hall, and Nick Larry Law are best positioned to
represent the putative Classes. They have extensive class action experience and are well-versed in


1
    The “Classes” are defined in paragraph 107 of Plaintiff’s Class Action Complaint.
2
  Plaintiff M.G. takes no position on the composition of the remainder of the Steering
Committee, or the Liaison Counsel designees.


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data privacy issues and BIPA litigation in particular. Proposed Class Counsel have conducted a

comprehensive investigation of the relevant facts and are now working to protect the interests of
Class members by moving to enjoin Defendants’ imminent dissemination of their biometrics to a

third-party acquirer – a disclosure that, if allowed, would only further violate BIPA and magnify
the harm to these individuals. (See M.G., ECF No. 3.)
        Accordingly, Plaintiff moves for the appointment of Frank S. Hedin of Hedin Hall and/or
Philip L. Fraietta of Bursor & Fisher as lead counsel or, alternatively, as Steering Committee
members on behalf of the Classes, and the appointment of J. Dominick Larry of Nick Larry Law
as Steering Committee member on behalf of the Classes.
                                      APPLICABLE LAW
        Under Federal Rule of Civil Procedure 23(g)(3), a “court may designate interim counsel to
act on behalf of the putative class before determining whether to certify the action as a class
action.” Fed. R. Civ. P. 23(g). The court should “conduct an independent review to ensure that
counsel appointed to leading roles are qualified and responsible, that they will fairly and
adequately represent all of the parties on their side, and that their charges will be reasonable.”
Manual for Complex Litigation, § 10.22 (4th ed. 2006). The considerations set out in Rule 23(g)(1),
which governs post-certification appointments of class counsel, apply equally to pre-certification
appointments. Anderson v. Fiserv, Inc., 2010 WL 571812, at *2 (S.D.N.Y. Jan. 29, 2010).
        Rule 23(g)(1)(A) provides, in relevant part, that the Court must consider: (i) the work
counsel has done in identifying or investigating potential claims in the action; (ii) counsel’s
experience in handling class actions, other complex litigation, and the types of claims asserted in
the action; (iii) counsel’s knowledge of the applicable law; and (iv) the resources that counsel will
commit to representing the class. Fed R. Civ. P. 23(g)(1). Each of these considerations supports
the appointment of Proposed Class Counsel, as detailed below.
                                          ARGUMENT

   I.      Proposed Class Counsel Have Conducted an Extensive Investigation
        While no one factor under Federal Rule of Civil Procedure 23(g)(1) “should necessarily be


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determinative,” Advisory Committee Notes (2003), the investigative and analytical efforts of

counsel can be a deciding factor. Moore’s Fed. Prac. § 23.120(3)(a) (3d. Ed. 2007).
       Here, Proposed Class Counsel’s comprehensive investigation of the facts (over the course

of several months) and identification of the appropriate claims demonstrates that they are best
suited to represent the proposed Classes. For example, Proposed Class Counsel have:
       a) Investigated and assessed the viability of potential claims arising from Defendants’
          alleged practices of collecting, storing and using consumers’ biometric identifiers and
          biometric information, with a focus on both scans of face geometry and voiceprints;
       b) Analyzed numerous articles, journals, reports, web-based resources (on both a current
          and historical basis), and patents and patent applications describing Defendants’
          challenged conduct;
       c) Researched Defendants’ data-storage practices and identified the locations in Illinois
          where Defendants store the data implicated in this case;
       d) Researched Defendants’ corporate structures and the relationship between the
          Defendants and the entities believed to be potential acquirers of TikTok;
       e) Interviewed numerous potential clients;
       f) Assessed the adequacy of the named Plaintiff to represent the Classes; and
       g) Prepared the Complaint on behalf nationwide unjust enrichment classes and Illinois
          BIPA subclasses, alleging claims arising from voiceprint and face template collection.
       In other words, instead of racing to the courthouse, Proposed Class Counsel thoroughly
investigated the law and facts surrounding Defendants’ conduct. As a result, Proposed Class
Counsel identified several important issues overlooked by other law firms involved in this
litigation. In particular, Proposed Class Counsel, drawing on their extensive experience in other
BIPA litigation (detailed below), recognized the importance of establishing that Defendants
engaged in unlawful conduct in Illinois, and identified the CDN and edge servers used by the
TikTok App in Chicago to establish that fact. (Compl. ¶¶ 58-59.) Proposed Class Counsel also
identified a publicly reported, but previously unasserted, theory of liability – that Defendants
unlawfully captured voiceprints from those users who, like Plaintiff, spoke or sang in the videos
they posted to the TikTok App (e.g., id. ¶¶ 54, 56) – and recognized the importance of pursuing
that theory on behalf of a distinct subclass. And, most important, Proposed Class Counsel
recognized the immediate need to seek relief to protect the Classes from further dissemination of
their biometrics in connection with TikTok’s acquisition. (See M.G., ECF No. 3.) These measures


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are precisely the type of work that the Advisory Committee Notes state that the Court should

consider under Rule 23(g).
         The Notes also contemplate that the appointment of class counsel may be necessary to

conduct pre-certification discovery prior to a determination to grant or deny class certification
pursuant to Fed. R. Civ. P. 23(c)(1). See Fed. R. Civ. P. 23, Advisory Committee Notes (2003).
Here, a significant amount of discovery (and likely motion practice) must occur prior to class
certification and trial. See id. Discovery in this matter is sure to be complex, nuanced, and require
specialized knowledge and experience to perform effectively and efficiently. Proposed Class
Counsel’s experience prosecuting prior similar matters (discussed further below), will enable them
to effectively build and prosecute this case on behalf of the Classes.
         This factor’s importance is not diminished – and in fact is only heightened – by the apparent
agreement of some firms involved to a settlement-in-principle with Defendants. (See ECF Nos.
12, 16.) Given the numerous potential red flags raised by the settlement—i.e., that it appears to
have been reached without any adversarial motion practice or discovery, that certain groups of
lawyers have been barred from participating or even learning about the settlement, etc.—it is
imperative that counsel experienced in litigating complex BIPA matters be involved in evaluating
the evidence, before the Court and the Parties expend substantial resources in the settlement-
approval process. Proposed Class Counsel’s experience in BIPA litigation—including litigating
the first BIPA class action and the first settled BIPA class action, and obtaining judicial opinions
resolving multiple important issues of first impression under BIPA—fits the bill.

   II.      Proposed Class Counsel Is Experienced in Handling Class Actions and Other
            Complex Litigation
         The second factor the court must consider is “counsel’s experience in handling class
actions, other complex litigation, and the types of claims asserted in the action.” Fed. R. Civ. P.
23(g)(1)(A)(ii). This factor also supports the appointment of Proposed Class Counsel.
         “Bursor & Fisher, P.A., are class action lawyers who have experience litigating consumer
claims . . . . The firm has been appointed class counsel in dozens of cases in both federal and state



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courts, and has won multi-million dollar verdicts or recoveries in five class action jury trials since

2008.” Kangadis Food Inc., 297 F.R.D. 561 (S.D.N.Y. 2014) (Rakoff, J.). Those successes have
included negotiating the largest and second largest classes ever certified, see Nguyen v. Verizon

Wireless and Zill v. Sprint Spectrum; overseeing the settlement with the largest number of claims
(2.4 million) ever submitted in a Rule 23 class action, see Hendricks v. StarKist Co, No. 13-cv-
00729-HSG (N.D. Cal.); and numerous multi-million dollar verdicts or recoveries in consumer
class-action trials. See Fraietta Decl. ¶¶ 2-4 (citing Thomas v. Global Vision Products, Inc., ($50
million jury verdict); Ayyad v. Sprint Spectrum, L.P. ($299 million trial verdict); McMillion v.
Rash Curtis & Associates ($267 million judgment)).
       Likewise, courts have recognized that “Hedin Hall has extensive experience in class
action,” Luczak v. Nat'l Beverage Corp., 2018 WL 9847842, at *2 (S.D. Fla. Oct. 12, 2018), and
provides exemplary representation to the classes of consumers and investors that they represent.
See, e.g., Groover v. Prisoner Transportation Servs., LLC, 2019 WL 3974143, at *2 (S.D. Fla.
Aug. 22, 2019) (noting that Hedin Hall LLP “provided excellent and thorough representation in a
case that was exceptionally time-consuming”). And over the past two years alone, Hedin Hall has
secured over $75 million in all-cash relief for class members, on a non-reversionary basis, in
several consumer-privacy, financial services, and securities class actions. See Hedin Decl. ¶¶ 3-4.
       Perhaps most important, Proposed Class Counsel have substantial experience handling data
security and data privacy cases. See, e.g., Fraietta Decl. ¶¶ 8-9; Edwards v. Hearst
Communications, Inc., 1:15-cv-09279-AT-JLC (Bursor & Fisher secured a $50 million data-
privacy class action settlement); In re Michaels Stores Pin Pad Litig., No. 11-cv-00350, ECF No.
22 (N.D. Ill. June 8, 2011) (Bursor & Fisher secured nationwide data breach settlement) Moeller
v. American Media, Inc., No. 16-cv-11367, ECF No. 42 (E.D. Mich. Sept. 28, 2017) (Bursor &
Fisher co-counsel in $7.6 million data-privacy class action settlement); Taylor v. Trusted Media
Brands, Inc., No. 16-cv-01812, ECF No. 87 (S.D.N.Y. Feb. 1, 2018) ($8.225 million data-privacy
settlement); Olsen v. ContextLogic Inc., No. 2019-CH-06737 (Cir. Ct. Cook Cnty. Ill. Jan 7, 2017)
(Hedin Hall secured $16 million data-privacy class action settlement); Donahue v. Everi Payments,


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Inc., No. 2018-CH-15419 (Cir. Ct. Cook Cnty. Ill.) (Hedin Hall secured $14 million data-privacy

settlement); Chimeno-Buzzi v. Hollister Co., No. 14-cv-23120-MGC (S.D. Fla.) (F. Hedin of
Hedin Hall secured $10 million data-privacy action settlement); In re LinkedIn User Privacy Litig.,

No. 5:12-cv-03088-EJD (N.D. Cal.) (Larry arguing motion to dismiss and class-settlement
approval in data-breach class action); Halaburda v. Bauer Publ’g Co., No. 12-cv-12831 (E.D.
Mich. Aug. 5, 2013) (Larry principally involved in defeating motion to dismiss in first class action
under Michigan’s Video Rental Privacy Act); In re Netflix User Privacy Litig., No. 5:11-cv-379
(N.D. Cal.) (Larry among team that secured $9 million class-wide settlement of Video Privacy
Protection Act Claims).

   III.      Proposed Class Counsel Is Very Familiar with the Applicable Law
          In addition to their long track records of success in consumer class actions, they also have
extensive BIPA experience.
          Frank S. Hedin of Hedin Hall has served as lead plaintiffs’ counsel in several prior BIPA
class actions involving the collection of “scans of face geometry,” including in litigation against
Google and Shutterfly where he achieved multiple significant victories for consumers on issues of
first impression under the statute, including whether: (1) scans of face geometry collected from
photographs constitute “biometric identifiers” within the meaning of BIPA, Norberg v. Shutterfly,
Inc., 152 F. Supp. 3d 1103 (N.D. Ill. 2015); (2) the presumption against extraterritoriality or the
dormant commerce clause bars BIPA’s application to the collection of Illinoisans’ biometrics from
devices assigned Illinois-based IP addresses, Rivera v. Google Inc., 238 F. Supp. 3d 1088 (N.D.
Ill. 2017); and (3) the nonconsensual collection of a scan of face geometry, a bare violation of
BIPA, is a concrete and particularized injury sufficient to confer Article III standing, Monroy v.
Shutterfly, Inc., 2017 WL 4099846, at *8 n.5 (N.D. Ill. Sept. 15, 2017). Hedin Decl. ¶ 7.
Additionally, for nearly three years, David W. Hall of Hedin Hall served as one of the primary
attorneys in the BIPA litigation against Facebook Inc. while at his prior firm, Robbins Geller
Rudman & Dowd LLP. Id. ¶ 8. Mr. Hall was joined on that case by J. Dominick Larry, who,
during his time at Edelson PC, was highly involved in the Facebook biometrics case (the first


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consumer class action filed under BIPA), and was part of the team to secure approval of the first

class-wide BIPA settlement, Sekura v. L.A. Tan Enterps., No. 2015-CH-16694 (Cir. Ct. Cook Co.).
         The BIPA-related experience of Proposed Class Counsel makes them uniquely qualified to

steer this litigation on a prudent course on behalf of the Classes.

   IV.      Proposed Class Counsel Will Commit All Necessary Resources to Representing
            the Classes
         The final Rule 23(g)(1)(C)(i) factor, which concerns the resources that counsel will commit
to the case, also strongly supports the appointment of Proposed Class Counsel. Proposed Class
Counsel have well-established and successful practices and have the resources (including work
product developed in other similar cases) and the personnel necessary to pursue a case of this
magnitude, as they have demonstrated in numerous similar class actions. Hedin Decl. ¶ 11; see
also Melgar v. Zicam, LLC, No. 2:14-cv-00160-MCE-AC, at *3 (E.D. Cal. Oct. 29, 2014) (C.J.,
England, Jr.) (“Bursor & Fisher is a well-established, reputable firm that is up to handling the
challenges of this litigation and is capable of committing the requisite resources to doing so.”);
Groover, 2019 WL 3974143, at *2 (recognizing the “excellent and thorough representation”
provided by Hedin Hall, including in “exceptionally time-consuming” cases).
         If appointed to represent the classes, Proposed Class Counsel will commit the same
resources to this case as they have committed to their other successful class action litigations.
                                      CONCLUSION
         For the foregoing reasons, Plaintiff M.G. respectfully requests that the Court appoint Frank
S. Hedin of Hedin Hall and/or Philip L. Fraietta of Bursor & Fisher as lead counsel or,
alternatively, as Steering Committee members on behalf of the Classes, and appoint J. Dominick
Larry of Nick Larry Law as Steering Committee member on behalf of the Classes.

Dated: September 8, 2020                       Respectfully submitted,
                                               s/ J. Dominick Larry
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                                   *Pro Hac Vice Application Forthcoming
                                   Counsel for Plaintiff, by and through his father and
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                                   Class




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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 8, 2020, I served the above and foregoing by causing a
true and accurate copy of such paper to be filed and served on all counsel of record via the
Court’s CM/ECF electronic filing system.

                                                    s/ J. Dominick Larry




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